                                                                            Case 2:21-cv-00522-APG-BNW Document 26 Filed 08/11/21 Page 1 of 4



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                                                                    Nevada Bar No.: 10381
                                                                2 KYLE R. TATUM, ESQ.
                                                                    Nevada Bar No.: 13264
                                                                3 TIFFANY S. YANG, ESQ.
                                                                  Nevada Bar No.: 15353
                                                                4
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                                                                  Las Vegas, Nevada 89146
                                                                6 P: 702.333.4223
                                                                  F: 702.507.1468
                                                                7 Attorneys for Plaintiff

                                                                8
                                                                                                   UNITED STATES DISTRICT COURT
                                                                                                        DISTRICT OF NEVADA
                                                                9

                                                               10     KIMBERLY ZEPEDA, an Individual;                    Case No.: 2:21-cv-00522-APG-BNW

                                                               11                           Plaintiff,

                                                                      vs.                                                STIPULATION AND ORDER TO DISMISS
KANG & ASSOCIATES, PLLC.




                                                               12
                                                                                                                         WITH PREJUDICE
                           6480 W SPRING MOUNTAIN RD., STE 1




                                                               13     VDARA CONDO HOTEL, LLC, a Delaware
                                                                      Domestic Limited-Liability Company
                                  LAS VEGAS, NV 89146




                                                               14     d/b/a VDARA; and DOES 1-25 inclusive;
                                                                      and ROE CORPORATIONS 1-25 inclusive;
                                                               15
                                                                                            Defendants.
                                                               16

                                                               17                     STIPULATION AND ORDER TO DISMISS WITH PREJUDICE

                                                               18           Plaintiff, KIMBERLY ZEPEDA and Defendant, VDARA CONDO HOTEL, LLC., through their

                                                               19 respective attorneys of record, hereby submit this Stipulation and Order for Dismissal of the

                                                               20 above-captioned matter in its entirety.

                                                               21           This matter has been resolved among the parties. Therefore, in the interest of justice and
                                                               22 efficacy, the parties have agreed that this matter shall be dismissed with prejudice, and each

                                                               23
                                                                    party will be responsible for their own costs and fees associated with this case. Now Therefore:
                                                               24
                                                                            IT IS HEREBY STIPULATED, AGREED AND ORDERED that the parties have agreed that
                                                               25
                                                                    this matter be dismissed with prejudice and each party will be responsible for their own costs


                                                                                                                                                                    1|
                                                                         Case 2:21-cv-00522-APG-BNW Document 26 Filed 08/11/21 Page 2 of 4



                                                                1 and fees associated with this case.

                                                                2

                                                                3 Dated this   11th day of August, 2021              Dated this 11th day of August, 2021

                                                                4 Respectfully submitted,                            Respectfully submitted,

                                                                5

                                                                6  /s/Kyle R. Tatum, Esq._____                        /s/Jason Sifers, Esq._________
                                                                  PATRICK W. KANG, ESQ.                              JASON SIFERS, ESQ.
                                                                7 KYLE R. TATUM, ESQ.                                MGM RESORTS INTERNATIONAL
                                                                  TIFFANY S. YANG, ESQ.                              Attorneys for Defendant
                                                                8 KANG & ASSOCIATES, PLLC                            VDARA CONDO HOTEL, LLC
                                                                  Attorneys for Plaintiff
                                                                9 KIMBERLY ZEPEDA

                                                               10

                                                               11                                         ORDER
KANG & ASSOCIATES, PLLC.




                                                               12
                                                                                                              IT IS SO ORDERED.
                           6480 W SPRING MOUNTAIN RD., STE 1




                                                               13
                                  LAS VEGAS, NV 89146




                                                               14                                             Dated this ___ day of August, 2021.

                                                               15

                                                               16
                                                                                                              UNITED STATES MAGISTRATE JUDGE
                                                               17

                                                               18 Submitted by:
                                                                    KANG & ASSOCIATES
                                                               19

                                                               20
                                                                    /s/Kyle R. Tatum, Esq.
                                                                    PATRICK W. KANG, ESQ.
                                                               21
                                                                    Nevada Bar No. 010381
                                                               22
                                                                    KYLE R. TATUM, ESQ.
                                                                    Nevada Bar No. 013264
                                                               23   TIFFANY S. YANG, ESQ.
                                                                    Nevada Bar No.: 015353
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                                                               25   P: 702.33.4223
                                                                    Attorneys for Plaintiff


                                                                                                                                                       2|
                                                                          Case 2:21-cv-00522-APG-BNW Document 26 Filed 08/11/21 Page 3 of 4



                                                                1                                      CERTIFICATE OF SERVICE

                                                                2          I hereby certify that I am an employee of KANG & ASSOCIATES, PLLC., over the age of 18,
                                                                3
                                                                    neither a party to nor interested in this matter; that on this 11th day of August, 2021, I served a
                                                                4
                                                                    copy of STIPULATION AND ORDER TO DISMISS WITH PREJUDICE, as follows:
                                                                5

                                                                6          X       by electronic filing notification where specified on the attached service list:

                                                                7                  by mailing a copy thereof enclosed in a sealed envelope with postage prepaid in
                                                                                   in the United States Mail at Las Vegas, Nevada, to the counsel of record at the
                                                                8                  following address:

                                                                9                  by facsimile transmission, pursuant to NRCP(5)(b) and EDCR 7.26, to the
                                                                                   following fax number:
                                                               10

                                                               11 TO:              Jason Sifers, Esq.
                                                                                   MGM RESORTS INTERNATIONAL
KANG & ASSOCIATES, PLLC.




                                                               12                  6385 S. Rainbow Blvd., Suite 500
                                                                                   Las Vegas, NV 89118
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                                                               14
                                                                                   F: (702) 669-4501
                                                               15
                                                                                   Attorneys for Defendant
                                                                                   Vdara Condo Hotel, LLC
                                                               16

                                                               17

                                                               18
                                                                                                                           /s/Heather Caifano___________________
                                                               19                                                          An Employee of KANG & ASSOCIATES

                                                               20

                                                               21

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                                                               23

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                                                               25




                                                                                                                                                                     3|
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                                           Mail -Document       26 Filed
                                                 hcaifano acelawgroup.com    08/11/21 Page 4 of 4
                                                                          - Outlook

       From: Sifers, Jason <jsifers@mgmresorts.com>
       Sent: Wednesday, August 11, 2021 1:09 PM
       To: ktatum acelawgroup.com <ktatum@acelawgroup.com>
       Subject: RE: Zepeda v. Vdara

       Thanks Kyle. You can sign my name. Note the old caption is still there as well, but if you remove that this is good
       to go.



       Jason Sifers
       Legal Counsel
       MGM Resorts International®
       6385 S. Rainbow Blvd, Suite 500
       Las Vegas, NV 89118
       702-692-5672
       jsifers@mgmresorts.com

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       Sent: Wednesday, August 11, 2021 12:49 PM
       To: Sifers, Jason <jsifers@mgmresorts.com>
       Subject: [EXTERNAL] Zepeda v. Vdara

       Attached is the proposed SAO. Let me know if you have any changes, or if I can affix your e-signature.

       Thanks.

       --
       Kyle R. Tatum, Esq.
       Partner
       Se habla español

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